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 6

 7                                    UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             No. 2:15-CR-00029-TLN

11                       Plaintiff,                        STIPULATION AND ORDER TO
                                                           CONTINUE STATUS CONFERENCE,
12           v.                                            AND TO EXCLUDE TIME PURSUANT TO
                                                           THE SPEEDY TRIAL ACT
13   LeJOHN WINDOM, SR., et al.,

14                       Defendants.

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16           IT IS HEREBY STIPULATED by and between the parties hereto through their respective

17   counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff; Bruce Locke,

18   attorney for defendant LeJohn Windom, Sr.; Michael Bigelow, attorney for defendant LeJohn

19   Windom, Jr.; Michael E. Hansen, attorney for defendant Tracy Hartway; and Assistant Federal

20   Defender Douglas Beevers, attorney for defendant Audrey Johnson; that the previously-scheduled

21   status conference date of May 26, 2016, be vacated and the matter set for status conference on

22   August 18, 2016, at 9:30 a.m.

23           This continuance is requested to allow counsel additional time to review discovery with

24   the defendants, to examine possible defenses and to continue investigating the facts of the case.

25   Some of the defendants are evaluating plea offers.

26           The Government concurs with this request.

27           Further, the parties agree and stipulate the ends of justice served by the granting of such a

28   continuance outweigh the best interests of the public and the defendants in a speedy trial and that
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 1   time within which the trial of this case must be commenced under the Speedy Trial Act should
 2   therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to Local Code
 3   T4 (to allow defense counsel time to prepare), from the date of the parties’ stipulation, May 20,
 4   2016, to and including August 18, 2016.
 5            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6            IT IS SO STIPULATED.
 7   Dated: May 20, 2016                                       Respectfully submitted,
 8                                                             /s/ Michael E. Hansen
                                                               MICHAEL E. HANSEN
 9                                                             Attorney for Defendant
                                                               TRACY HARTWAY
10
     Dated: May 20, 2016                                       /s/ Michael E. Hansen for
11                                                             BRUCE LOCKE
                                                               Attorney for Defendant
12                                                             LeJOHN WINDOM, Sr.
13   Dated: May 20, 2016                                       /s/ Michael E. Hansen for
                                                               MICHAEL BIGELOW
14                                                             Attorney for Defendant
                                                               LeJOHN WINDOM, Jr.
15
     Dated: May 20, 2016                                       HEATHER E. WILLIAMS
16                                                             Federal Defender
17                                                             By: /s/ Michael E. Hansen for
                                                               DOUGLAS BEEVERS
18                                                             Attorney for Defendant
                                                               AUDREY JOHNSON
19
     Dated: May 20, 2016                                       PHILLIP A. TALBERT
20                                                             Acting United States Attorney
21                                                             By: /s/ Michael E. Hansen for
                                                               MATTHEW MORRIS
22                                                             Assistant U.S. Attorney
                                                               Attorney for Plaintiff
23   / /
24   / /
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 1                                                  ORDER
 2           The Court, having received, read, and considered the stipulation of the parties, and good
 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
 4   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that it
 5   is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within the
 6   time limits established in 18 U.S.C. section 3161. In addition, the Court specifically finds that the
 7   failure to grant a continuance in this case would deny defense counsel to this stipulation
 8   reasonable time necessary for effective preparation, taking into account the exercise of due
 9   diligence. The Court finds that the ends of justice to be served by granting the requested
10   continuance outweigh the best interests of the public and the defendant in a speedy trial.
11           The Court orders that the time from the date of the parties’ stipulation, May 20, 2016, to
12   and including August 18, 2016, shall be excluded from computation of time within which the trial
13   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. section
14   3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is
15   further ordered that the May 26, 2016, status conference shall be continued until August 18, 2016,
16   at 9:30 a.m.
17           IT IS SO ORDERED.
18   Dated: May 20, 2016
19                                                             Troy L. Nunley
                                                               United States District Judge
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     Stipulation and Order to Continue Status Conference
